






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00042-CR






Luis Angel Escobar, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 27TH JUDICIAL DISTRICT

NO. 66625, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant Luis Angel Escobar pled guilty of possession of a controlled substance,
and&nbsp;was sentenced to thirty years imprisonment. (1)  Appellant's appointed attorney has filed a brief
concluding that the appeal is frivolous and without merit.

	Counsel's brief meets the requirements of Anders v. California, 386 U.S. 738, 743-44
(1967), by presenting a professional evaluation of the record and demonstrating that there are no
arguable grounds to be advanced.  See Penson v. Ohio, 488 U.S. 75, 80 (1988); Anders, 386 U.S. at
743-44; High v. State, 573 S.W.2d 807, 811-13 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d
684, 684 (Tex. Crim. App. 1974); Gainous v. State, 436 S.W.2d 137, 138 (Tex. Crim. App. 1969).
Appellant's attorney sent appellant a copy of the brief and advised him that he had the right to
examine the record and file a pro se brief. See Anders, 386 U.S. at 744; Jackson v. State,
485&nbsp;S.W.2d&nbsp;553, 553 (Tex. Crim. App. 1972).  No pro se brief has been filed.

	Having reviewed the record and the procedures that were observed, nothing in the
record might arguably support the appeal.  We agree with counsel that the appeal is frivolous and
without merit.  We grant counsel's motion to withdraw and affirm the judgment of conviction. (2)


					__________________________________________

					David Puryear, Justice

Before Justices Puryear, Rose and Goodwin

Affirmed

Filed:   June 13, 2012

Do Not Publish
1.   The trial court certified that appellant had the right to appeal his motion to suppress and
any other pretrial motions he had raised.
2.   No substitute counsel will be appointed.  Should appellant wish to seek further review of
his case by the court of criminal appeals, he must either retain an attorney to file a petition for
discretionary review or file a pro se petition for discretionary review.  See generally Tex. R. App. P.
68-79 (governing proceedings in the Texas Court of Criminal Appeals).  Any petition for discretionary
review must be filed within thirty days from the date of either this opinion or the date this Court
overrules the last timely motion for rehearing filed.  See Tex. R. App. P. 68.2.  The petition must be
filed with this Court, after which it will be forwarded to the court of criminal appeals along with the
rest of the filings in the cause.  See Tex. R. App. P. 68.3, 68.7.  Any petition for discretionary review
should comply with rules 68.4 and 68.5 of the rules of appellate procedure.  See Tex. R. App. P.
68.4, 68.5.


